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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND
                                 (Greenbelt Division)


 GERVIN GOMEZ HERNANDEZ
 c/o 519 H Street NW
 Washington, DC 20001
 (Montgomery County)

 LEDIS CRUZ
 c/o 519 H Street NW
 Washington, DC 20001
 (Montgomery County)

        Plaintiffs,

 v.                                                         Civil Action No. __________________
 PHOENIX STAFFING SERVICES, LLC
 d/b/a PHOENIX STAFFING SERVICES
 11027 Brewers Drive
 Perry Hall, MD 21128
 (Baltimore County)

 RICHARD ERNEST PHILLIPS
 11027 Brewers Drive
 Perry Hall, MD 21128
 (Baltimore County)

        Defendants.


                                        COMPLAINT

1.     While Plaintiffs worked for Defendants’ staffing services company, Defendants paid

Plaintiffs flat daily salaries that denied them minimum and overtime wages.

2.     Plaintiffs bring this action to recover damages for Defendants’ willful failure to pay mini-

mum and overtime wages, in violation of the Fair Labor Standards Act (“FLSA”), 29 U.S.C. §

201 et seq.; the Maryland Wage and Hour Law (“MWHL”), Md. Code, Lab. & Empl. Art., § 3-
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401 et seq.; and the Maryland Wage Payment and Collection Law (“MWPCL”), Md. Code, Lab.

& Empl. Art., § 3-501 et seq.

                                      Jurisdiction and Venue

3.      Jurisdiction is proper pursuant to 28 U.S.C. § 1331 (federal question jurisdiction) and 28

U.S.C.§ 1367 (supplemental jurisdiction).

4.      Venue is proper pursuant to 28 U.S.C. § 1391(b) and Local Rule 501(4) because a major-

ity of the Maryland parties reside in this district and division, or because a substantial part of the

events or omissions giving rise to Plaintiffs’ claims occurred in this district and division.

                                               Parties

5.      Plaintiff Gervin Gomez Hernandez is an adult resident of Montgomery County, Mary-

land.

6.      Plaintiff Ledis Cruz is an adult resident of Montgomery County, Maryland.

7.      Defendant Phoenix Staffing Services, LLC (“PSS”) is a Maryland corporate entity. It

does business as Phoenix Staffing Services. Its principal place of business is registered at 11027

Brewers Drive, Perry Hall, MD 21128. But in 2018 and 2019, it operated its business out of 7411

Riggs Road, Suite 104, Hyattsville, MD 20783. Its resident agent for service of process is Rich-

ard E. Phillips, 11027 Brewers Drive, Perry Hall, MD 21128.

8.      Defendant Richard Ernest Phillips is an adult resident of Maryland. He resides at 11027

Brewers Drive, Perry Hall, MD 21128. He is an owner and officer of PSS. He exercises control

over the operations of PSS — including its pay practices.

                                        Factual Allegations
9.      PSS provides staffing services to companies in Maryland, such as Lancaster Foods, LLC,

Coosemans DC Inc., TGD Cuts, LLC, and Hungry Harvest, LLC.




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10.     Plaintiff Gomez Hernandez worked at PSS from approximately November 26, 2018

through approximately May 21, 2019.

11.     Plaintiff Cruz worked at PSS from approximately January 7, 2019 through approximately

October 21, 2019.

12.     In 2018 and 2019, PSS operated its business out of 7411 Riggs Road, Suite 104, Hyatts-

ville, MD 20783.

13.     At all relevant times, Plaintiffs primarily worked in Prince George’s County.

14.     At all relevant times, Plaintiffs worked most of their hours in Prince George’s County.

15.     Plaintiffs worked at PSS as drivers.

16.     PSS provided Plaintiffs with a van to drive.

17.     At all relevant times, PSS paid for the van’s insurance.

18.     At all relevant times, PSS paid for the gas that Plaintiffs used while driving for Defend-

ants.

19.     Plaintiffs’ job duties at PSS primarily consisted of transporting employees from their resi-

dences to and from their different work locations.

20.     Plaintiffs typically and customarily worked six days per week.

21.     In November 2018, Plaintiff Gomez Hernandez typically and customarily worked 62.5

hours per week.

22.     Starting in approximately December 2018, Plaintiff Gomez Hernandez typically and cus-

tomarily worked 98.0 hours per week.

23.     Prior to May 22, 2019, Plaintiff Cruz typically and customarily worked 80.0 hours per

week.




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24.     Starting on approximately May 22, 2019, Plaintiff Cruz typically and customarily worked

68.5 hours per week.

25.     At all relevant times, Defendants paid Plaintiffs a daily salary of $100.00.

26.     Defendants typically and customarily paid Plaintiffs $600.00 per week.

27.     Defendants typically and customarily paid Plaintiffs by check. But during his first week

of work, Defendants paid Plaintiff Gomez Hernandez in cash.

28.     At all relevant times, Plaintiffs worked more than forty hours per workweek for Defend-

ants.

29.     Defendants paid Plaintiffs the same effective hourly rate across all hours worked.

30.     Defendants did not pay Plaintiffs overtime wages — or one and one-half times their regu-

lar hourly rate for hours worked in excess of forty in a workweek.

31.     In addition to not paying overtime wages, Defendants did not pay Plaintiffs the applicable

Maryland and the Prince George’s County minimum wages.

32.     At all relevant times, Maryland required employers to pay non-exempt employees at least

$10.10. Md. Code, Lab. & Empl. Art. § 3-413.

33.     Prince George’s County required that employers pay non-exempt employees at least

$11.50 from October 1, 2017 through the present. See Prince George’s County Code § 13A-117.

34.     Defendants paid Plaintiff Gomez Hernandez an effective hourly rate between $6.12

($600.00 ÷ 98 hours) and $9.60 ($600.00 ÷ 62.5 hours).

35.     Defendants paid Plaintiff Cruz an effective hourly rate between $7.50 ($600.00 ÷ 80

hours) and $8.76. (($600.00 ÷ 68.5 hours per week).

36.     Defendants owe Plaintiff Gomez Hernandez approximately $21,000.00 in minimum and

overtime wages (excluding liquidated damages).




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37.    Defendants owe Plaintiff Cruz approximately $18,200.00 in minimum and overtime

wages (excluding liquidated damages).

38.    At all relevant times, Defendants had the power to hire and fire Plaintiffs.

39.    At all relevant times, Defendants had the power to control Plaintiffs’ work schedule.

40.    At all relevant times, Defendants had the power to supervise and control Plaintiffs’ work.

41.    At all relevant times, Defendants had the power to set Plaintiffs’ rate and manner of pay.

42.    At all relevant times, Defendants were aware that they were legally required to pay Plain-

tiffs one and one-half times their regular rate for all hours worked in excess of forty hours in any

one workweek.

43.    At all relevant times, Defendants were aware that they were legally required to pay Plain-

tiffs the applicable minimum wage.

44.    At all relevant times, the annual gross volume of Defendants’ business exceeded

$500,000.00.

45.    At all relevant times, Defendants had two or more employees who handled goods and/or

materials that had traveled in or been produced in interstate commerce.

                                            COUNT I
      FAILURE TO PAY MINIMUM AND OVERTIME WAGES UNDER THE FLSA
46.    Plaintiffs incorporates the foregoing paragraphs as if fully restated herein.

47.    Each defendant was an “employer” of Plaintiffs within the meaning of the FLSA. 29

U.S.C. § 203(d).

48.    The FLSA requires that employers pay non-exempt employees at least $7.25 per hour. 29

U.S.C. § 206(a)(1).

49.    The FLSA permits states to set a minimum wage higher than that provided for by the

FLSA. 29 U.S.C. § 218.


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50.     The FLSA requires employers to pay non-exempt employees one and one-half times their

regular hourly rate for hours worked in excess of forty hours in any one workweek. 29 U.S.C.

§ 207(a)(1). This regular hourly rate cannot be lower than the applicable state or local minimum

wage. 29 C.F.R. § 778.5.

51.     Defendants violated the FLSA by knowingly failing to pay one or more Plaintiffs the re-

quired minimum wage.

52.     Defendants violated the FLSA by knowingly failing to pay Plaintiffs at least one and one-

half times their regular hourly rate for hours worked in excess of forty hours in any one work-

week.

53.     Defendants’ violations of the FLSA were willful.

54.     For Defendants’ violations of the FLSA, Defendants are liable to Plaintiffs for unpaid

minimum and overtime wages, an equal amount as liquidated damages, reasonable attorney’s

fees and expenses, interest, court costs, and any other relief deemed appropriate by the Court.

                                            COUNT II
      FAILURE TO PAY MINIMUM AND OVERTIME WAGES UNDER THE MWHL
55.     Plaintiffs incorporates the foregoing paragraphs as if set forth in their entirety herein.

56.     Each defendant was an “employer” of Plaintiffs within the meaning of the MWHL. Md.

Code, Lab. & Empl. Art. § 3-401(b).

57.     The MWHL requires that employers pay non-exempt employees at least $10.10 per hour

from July 1, 2018 through the present. Md. Code, Lab. & Empl. Art. § 3-413.

58.     The MWHL requires employers to pay non-exempt employees one and one-half times

their regular hourly rate for hours worked in excess of 40 hours in any one workweek. Md. Code,

Lab. & Empl. Art., §§ 3-415 and 3-420.




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59.    Defendants violated the MWHL by knowingly failing to pay the required Maryland mini-

mum wage to Plaintiffs.

60.    Defendants violated the MWHL by knowingly failing to pay Plaintiffs one and one-half

times their regular hourly rate for hours worked in excess of forty hours in any one workweek.

61.    Defendants’ violations of the MWHL were willful.

62.    For Defendants’ violations of the MWHL, Defendants are liable to Plaintiffs for unpaid

minimum and overtime wages, an equal amount as liquidated damages, reasonable attorney’s

fees and expenses, interest, court costs, and any other relief deemed appropriate by the Court.

                                           COUNT III
                    FAILURE TO PAY WAGES UNDER THE MWPCL

63.    Plaintiffs incorporates the foregoing paragraphs as if set forth in their entirety herein.

64.    Each defendant was an “employer” of Plaintiffs within the meaning of the MWPCL. Md.

Code, Lab. & Empl. Art. § 3-501(b).

65.    The MWPCL requires employers to pay an employee whose employment terminates all

wages due on or before the day on which the employee would have been paid the wages if the

employment had not been terminated. Md. Code, Lab. & Empl. Art. § 3-505(a).

66.    The MWPCL requires employers to timely pay an employee on regular pay days. Md.

Code, Lab. & Empl. Art. § 3-502.

67.    The “wages” required to be timely paid by the MWPCL include minimum and overtime

wages. Md. Code, Lab. & Empl. Art. § 3-501(c)(2). See also Peters v. Early Healthcare Giver,

Inc., 439 Md. 646, 654 (Md. 2014).

68.    Defendants did not pay Plaintiffs the applicable Maryland minimum wage of $10.10.

69.    Defendants did not pay Plaintiffs the Prince George’s County minimum wage of $11.50

per hour, effective from October 1, 2017 through the present.


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70.    Defendants violated the MWPCL by knowingly failing to timely pay Plaintiffs all wages

due, including minimum and overtime wages.

71.    Defendants’ violations of the MWPCL were willful.

72.    For Defendants’ violations of the MWPCL, Defendants are liable to Plaintiffs for three

times the amount of unpaid wages, reasonable attorney’s fees and expenses, interest, court costs,

and any other relief deemed appropriate by the Court.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully requests that this Court enter judgment against De-

fendants, jointly and severally, on all counts, in the current total amount of $118,000.00, and

grant the following relief:

       a.        Award Plaintiffs $117,600.00, consisting of the following overlapping elements:

               i.       unpaid minimum and overtime wages, plus an equal amount as liquidated

                        damages, pursuant to the FLSA, 29 U.S.C. § 216;

              ii.       unpaid Maryland minimum and overtime wages, plus an equal amount as

                        liquidated damages, pursuant to the MWHL, Md. Code, Lab. & Empl.

                        Art., § 3-427;

             iii.       three times the amount of unpaid wages, pursuant to the MWPCL, Md.

                        Code, Lab. & Empl. Art., 3-507.2;

       b.        Award Plaintiffs pre-judgment and post-judgment interest as permitted by law;

       c.        Award Plaintiffs reasonable attorney’s fees and expenses;

       d.        Award Plaintiffs court costs (currently, $400.00); and

       e.        Award any additional relief the Court deems just.




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 Date: November 22, 2019                                Respectfully submitted,

                                                        /s/ Justin Zelikovitz
                                                        JUSTIN ZELIKOVITZ, #17567
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                                                        Counsel for Plaintiffs



                                        JURY DEMAND

        Pursuant to Fed. R. Civ. P. 38, Plaintiffs hereby demand a trial by jury on all issues so tri-

able.

                                                       /s/ Justin Zelikovitz




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